                           UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE TENNESSEE DIVISION

In re:                                                      Case No. 17-03085-CW3-13
         ANDY LAMAR ALLMAN

                    Debtor(s)


                      Chapter 13 Trustee's Final Report and Account
       Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:


         1) The case was filed on 05/03/2017.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 07/28/2017.

         6) Number of months from filing to last payment: 1.

         7) Number of months case was pending: 3.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                  $0.00
       Less amount refunded to debtor                            $0.00

NET RECEIPTS:                                                                                      $0.00


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $0.00
    Court Costs                                                        $0.00
    Trustee Expenses & Compensation                                    $0.00
    Other                                                              $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                  $0.00

Attorney fees paid and disclosed by debtor:                 $0.00


Scheduled Creditors:
Creditor                                     Claim       Claim         Claim        Principal        Int.
Name                              Class    Scheduled    Asserted      Allowed         Paid           Paid
ANGELA WOLF                   Unsecured            NA      4,500.00      4,500.00           0.00         0.00
CAPITAL ONE BANK USA NA       Unsecured            NA      3,324.46      3,324.46           0.00         0.00
CAROL E JARMAN                Unsecured            NA      4,500.00      4,500.00           0.00         0.00
CATHY BROWN                   Priority             NA           NA            NA            0.00         0.00
CATHY BROWN                   Unsecured            NA   230,064.09    230,064.09            0.00         0.00
CHARLES EDWARD COOK           Unsecured            NA      5,000.00      5,000.00           0.00         0.00
CHARLES WHITLEY EMERSON III   Unsecured            NA          0.00          0.00           0.00         0.00
CHARLES WHITLEY EMERSON III   Unsecured            NA      3,750.00      3,750.00           0.00         0.00
DERINDA ADAMS CARR            Unsecured            NA      4,500.00      4,500.00           0.00         0.00
GAGE DYCUS                    Unsecured            NA   108,077.22    108,077.22            0.00         0.00
GEORGE W BARRETT JR           Unsecured            NA      4,500.00      4,500.00           0.00         0.00
INGE GOODSON                  Unsecured            NA   300,000.00    300,000.00            0.00         0.00
INGE GOODSON                  Unsecured            NA      8,386.00      8,386.00           0.00         0.00
JEFFERY LOGAN HUMBLE          Unsecured            NA      4,500.00      4,500.00           0.00         0.00
JUVY M BAIRD                  Unsecured            NA      4,500.00      4,500.00           0.00         0.00
KAREN D GRAY                  Unsecured            NA          0.00          0.00           0.00         0.00
KAREN RENEE MCKNUCKLES        Unsecured            NA          0.00          0.00           0.00         0.00
LINDA CELA                    Unsecured            NA      4,500.00      4,500.00           0.00         0.00
NIARHOS AND WALDRON PLC       Unsecured            NA           NA            NA            0.00         0.00
PAMELA MCINISH                Unsecured            NA          0.00          0.00           0.00         0.00
PERIANN ALLMAN                Priority             NA    35,000.00     35,000.00            0.00         0.00
PERIANN ALLMAN                Unsecured            NA      9,000.00      9,000.00           0.00         0.00
RICH VELUZAT                  Unsecured            NA    10,000.00     10,000.00            0.00         0.00
TERESA B STERRETT             Unsecured            NA          0.00          0.00           0.00         0.00
TERESA KIDD                   Unsecured            NA      4,300.00      4,300.00           0.00         0.00
WILSON AND ASSOCIATES PLLC    Unsecured            NA           NA            NA            0.00         0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                        $0.00              $0.00             $0.00
       Mortgage Arrearage                                      $0.00              $0.00             $0.00
       Debt Secured by Vehicle                                 $0.00              $0.00             $0.00
       All Other Secured                                       $0.00              $0.00             $0.00
 TOTAL SECURED:                                                $0.00              $0.00             $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                        $9,000.00               $0.00             $0.00
        Domestic Support Ongoing                         $35,000.00               $0.00             $0.00
        All Other Priority                                    $0.00               $0.00             $0.00
 TOTAL PRIORITY:                                         $44,000.00               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                            $704,401.77               $0.00             $0.00


Disbursements:

         Expenses of Administration                                  $0.00
         Disbursements to Creditors                                  $0.00

TOTAL DISBURSEMENTS :                                                                             $0.00


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 08/07/2017                             By:/s/ Henry E. Hildebrand, III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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